Case 18-40270-elm11 Doc 272 Filed 05/24/19        Entered 05/24/19 12:31:59      Page 1 of 33



 J. Robert Forshey
 State Bar No. 07264200
 Laurie Dahl Rea
 State Bar No. 00796150
 FORSHEY & PROSTOK LLP
 777 Main St., Suite 1290
 Fort Worth, TX 76102
 Telephone: 817-877-8855
 Facsimile: 817-877-4151
 bforshey@forsheyprostok.com
 lrea@forsheyprostok.com

 ATTORNEYS FOR DEBTOR
 AND DEBTOR IN POSSESSION

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

  In re:                                      )
                                              )
  TENET CONCEPTS, LLC,                        )       Case No. 18-40270-rfn-11
                                              )
                        Debtor.               )       Chapter 11 Case
                                              )

                               AMENDED PLAN OF REORGANIZATION
                                  FOR TENET CONCEPTS, LLC


 Dated: May 24, 2019.
Case 18-40270-elm11 Doc 272 Filed 05/24/19               Entered 05/24/19 12:31:59          Page 2 of 33



                                        ARTICLE I
                         DEFINITIONS AND RULES OF CONSTRUCTION

 A.      Defined Terms.

         In addition to such other terms as are defined in other sections of this Plan, the following
 terms shall have the meanings set forth below (such meanings to be equally applicable to both
 the singular and plural, masculine and feminine forms of the terms defined).

        1.1.   “Administrative Bar Date” shall refer to the deadline to file Claims for Allowance
 as an Administrative Expense set forth in section 3.1(c) of the Plan.

         1.2.    “Administrative Expense" includes any cost or expense of administration of the
 Debtor’s chapter 11 case allowed under subsections 503(b) and 507(a)(2) of the Bankruptcy
 Code, including, without limitation, any actual and necessary expenses of preserving the Estate
 of the Debtor, any actual and necessary expenses of operating the business of the Debtor, all
 compensation or reimbursement of expenses to the extent allowed by the Bankruptcy Court
 under section 330 or 503 of the Bankruptcy Code, and any fees or charges assessed against
 the Estate of the Debtor under section 1930, chapter 123 of title 28 of the United States Code.

        1.3.   “Allow” or “Allowance,” when used with respect to a Claim, shall mean the
 process of determining whether a Claim is to be Allowed pursuant to this Plan.

         1.4.    “Allowed,” when used with respect to a Claim (other than an Administrative
 Expense), means a Claim (a) to the extent it is not Contested; or (b) a Contested Claim, proof of
 which was filed timely with the Bankruptcy Court, and (i) as to which no Objection was filed by
 the Objection Deadline, or (ii) as to which an Objection was filed by the Objection Deadline, to
 the extent, if any, such Claim is ultimately allowed by a Final Order; provided, however, if a
 Claim is to be determined in a forum other than the Bankruptcy Court, such Claim shall not
 become Allowed until determined by Final Order of such other forum and allowed by Final Order
 of the Bankruptcy Court. With respect to an Administrative Expense (other than Ordinary
 Course Claims), such Claims will be Allowed when a Final Order has been entered by the
 Bankruptcy Court allowing such Administrative Expense Claim.

         1.5.    “Amazon” shall mean Amazon.com, Inc. and its affiliates, including Amazon
 Logistics, Inc.

        1.6.    “Amazon Agreement” shall mean the Delivery Provider Terms of Service/Work
 Order dated as of March 1, 2015 among the Debtor and Amazon Logistics, Inc., as amended
 and supplemented, and the Amazon Logistics Delivery Service Partner Program Agreement
 dated July 3, 2018.

        1.7.     “Assets" includes all right, title, and interest in and to all property of every type or
 nature owned or claimed by the Debtor or the Estate as of the Effective Date, whether real or
 personal, tangible or intangible, and wherever located, and including, but not limited to, all
 property of the Estate as defined in section 541 of the Bankruptcy Code. Without limiting the
 generality of the foregoing, this shall include all of the following: Estate Claims, Avoidance
 Actions, Estate Defenses, Estate Cash, Estate Accounts Receivable, Estate Insurance and
 Estate Executory Contracts.

         1.8.    “Avoidance Action" means a cause of action and rights assertable by the Debtor



 Amended Plan of Reorganization of Tenet Concepts, LLC                                             Page 1
Case 18-40270-elm11 Doc 272 Filed 05/24/19             Entered 05/24/19 12:31:59         Page 3 of 33



 against any Person, including but not limited to any Creditor, pursuant to Chapter 5 of the
 Bankruptcy Code, including without limitation, actions brought, or which may be brought, under
 sections 542, 543, 544, 545, 547, 548, 549, 550, or 553 of the Bankruptcy Code, and including
 all causes of action, rights and remedies assertable by the Estate pursuant to section 544 of the
 Bankruptcy Code.

         1.9.    “Ballot" means the form of ballot provided to holders of Claims or Interests
 entitled to vote pursuant to Bankruptcy Rule 3017(d), by which each such holder may accept or
 reject the Plan.

        1.10. "Bankruptcy Case" shall mean Case No. 18-40270-rfn-11 before the United
 States Bankruptcy Court for the Northern District of Texas, Fort Worth Division.

         1.11. “Bankruptcy Code" means the Bankruptcy Reform Act of 1978, as amended and
 codified at title 11 of the United States Code.

          1.12. “Bankruptcy Court" means the United States Bankruptcy Court for the Northern
 District of Texas, Fort Worth Division.

        1.13. “Bankruptcy Rules" means the Federal Rules of Bankruptcy Procedure, as
 amended from time to time, including all applicable local rules of the Bankruptcy Court, and any
 reference to a specific rule is a “Bankruptcy Rule.”

        1.14. “Bar Date" is the date established by the Bankruptcy Court, including through any
 standing order, for filing proofs of Claim or proofs of Interest which, in this Bankruptcy Case, is
 June 7, 2018; provided, however, that if the Bankruptcy Court has ordered an extension of the
 time by which a particular Creditor may file a proof of Claim or proof of Interest, the date set with
 respect to such Creditor shall be the Bar Date with respect to such Creditor, but only as to such
 Creditor.

        1.15. “Business Day" means any day other than Saturday, Sunday, a legal holiday, or
 a day on which national banking institutions in Texas are authorized or obligated by law or
 executive order to close.

       1.16. "Cash" shall mean cash and cash equivalents, including funds held in a checking
 or money market account.

       1.17. “Cash Collateral shall have the same meaning as in section 363(a) of the
 Bankruptcy Code.

         1.18. “Claim" means (a) a right to payment, whether or not such right is reduced to
 judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured (including potential
 and unmatured tort and contract claims), disputed, undisputed, legal, equitable, secured or
 unsecured, or (b) a right to an equitable remedy for breach of performance if such breach gives
 rise to a right of payment, whether or not such right to an equitable remedy is reduced to
 judgment, fixed, contingent, matured, unmatured (including potential and unmatured tort and
 contract claims), disputed, undisputed, secured or unsecured.

        1.19.   “Claimant" means the holder of a Claim.

        1.20.   “Class" means a category or group of holders of Claims or Interests as



 Amended Plan of Reorganization of Tenet Concepts, LLC                                         Page 2
Case 18-40270-elm11 Doc 272 Filed 05/24/19             Entered 05/24/19 12:31:59      Page 4 of 33



 designated in Article II of the Plan.

      1.21. “Collateral" means any Asset subject to a valid and enforceable Lien to secure
 payment of a Claim, including any right of offset asserted against any Asset.

         1.22.   “Confirmation Date" means the date of entry of the Confirmation Order.

         1.23. “Confirmation Hearing" means the hearing, as it may be continued from time-to-
 time, conducted by the Bankruptcy Court pursuant to section 1128 of the Bankruptcy Code and
 Bankruptcy Rule 3020(b) to consider confirmation of the Plan, as the same may be amended,
 modified, or supplemented.

         1.24. “Confirmation Order" means the order of the Bankruptcy Court confirming the
 Plan in accordance with the provisions of chapter 11 of the Bankruptcy Code.

          1.25. “Contested," when used with respect to a Claim, means a Claim: (a) that is listed
 in the Schedules of the Debtor as disputed, contingent, and/or unliquidated, or in the amount of
 “$0.00” or “Unknown”; (b) that is listed in the Schedules of the Debtor as undisputed, liquidated,
 and not contingent and as to which a proof of Claim has been filed with the Bankruptcy Court, to
 the extent the proof of Claim amount exceeds the scheduled amount; (c) that is not listed in the
 Schedules of the Debtor, regardless of whether or not a proof of Claim has been filed with the
 Bankruptcy Court; (d) as to which an Objection has been or may be timely filed and which Claim
 has not been Allowed by a Final Order; or (e) for which the proof of Claim is filed after the
 applicable Bar Date; provided, however, that all Claims shall be deemed as Contested until the
 applicable Objection Deadline has passed. In addition, any Claim which is subject to an
 Objection or other pleading seeking either subordination (whether equitable or otherwise) or
 recharacterization of such Claim, including pursuant to section 510(c) of the Bankruptcy Code,
 shall likewise be deemed to constitute a Contested Claim until such Objection has been
 resolved by a Final Order.

         1.26.   “Creditor" shall have the same meaning as in section 101(10) of the Bankruptcy
 Code.

          1.27. “Cure Claim” shall refer to a Claim under section 365(b) of the Bankruptcy Code
 (a) for the payment or other performance required to cure any existing default under an
 Executory Contract or (b) for any actual pecuniary loss resulting from any such default under an
 Executory Contract.

         1.28.   “Debt” shall mean liability on a Claim.

         1.29. “Debtor” shall mean Tenet Concepts, LLC, a Texas limited liability company, the
 debtor in this Bankruptcy Case.

        1.30. “Disallowed," when used with respect to all or any part of a Claim or Interest,
 means that portion of a Claim or Interest to which an Objection or motion to disallow has been
 sustained by a Final Order or, as to any Contested Claim, any portion thereof which is not
 Allowed by a Final Order of the Bankruptcy Court.

         1.31. “Disclosure Statement" means the written statement, as amended,
 supplemented, or modified from time-to-time, describing the Plan that is prepared and
 distributed in accordance with sections 1125, 1126(b), and 1145 of the Bankruptcy Code and



 Amended Plan of Reorganization of Tenet Concepts, LLC                                      Page 3
Case 18-40270-elm11 Doc 272 Filed 05/24/19             Entered 05/24/19 12:31:59         Page 5 of 33



 Bankruptcy Rules 3017 and/or 3017.1.

         1.32.   “Distribution” shall refer to and include any distribution of any property pursuant
 to this Plan.

        1.33.    “Distribution Date” shall be determined separately as to each Claim.

        1.34.    “Distribution Record Date” shall have the meaning given in article 7.4 of the Plan.

         1.35. “Effective Date" means the first Business Day which is fourteen (14) days after
 entry of the Confirmation Date if the Confirmation Order is not stayed or, if the Confirmation
 Order is stayed, the first Business Day following the lifting, dissolution, or removal of such stay
 which is at least fourteen (14) Business Days after the Confirmation Date, and upon which all
 conditions to the effectiveness of the Plan set forth in Article XI below are satisfied.

          1.36. “Equitable Subordination” shall be broadly construed and shall encompass any
 right or remedy to equitably subordinate or recharacterize as equity any Claim, including without
 limitation any such right or remedy pursuant to section 510(c) of the Bankruptcy Code.

        1.37.    “Estate” shall mean the bankruptcy estate of the Debtor in this Bankruptcy Case.

        1.38.    "Estate Cash" shall mean all Cash held by the Estate.

         1.39. “Estate Claims” shall include any and all Claims or causes of action or rights of
 action held by the Estate against any Person, whether based on a contract, applicable tort or
 common law, or any law, statute or regulation of any governmental body or entity, including
 without limitation all Avoidance Actions, causes of action, rights of action or any right to recover
 money or property from any Person, as well as all legal and equitable rights and remedies
 incident to any of the forgoing. Estate Claims shall also include all applicable privileges in
 relation thereto, including the attorney-client privilege and the work product privilege.

          1.40. “Estate Defenses” shall refer to all defenses, affirmative defenses, counterclaims,
 or rights of offset or recoupment by the Estate against any Person, including without limitation
 all affirmative defenses referenced in Fed. R. Civ. Pr. 8(c). Estate Defenses shall also include
 all rights and remedies for Equitable Subordination. Estate Defenses shall also include all
 applicable privileges with respect thereto, including the attorney-client privilege and work
 product privilege.

         1.41. “Estate Insurance” shall include any insurance policy or interest in an insurance
 policy in which the Estate has an interest or rights.

         1.42. “Estate Professional" means those Persons employed pursuant to an order of the
 Bankruptcy Court in accordance with sections 327, 328 and 1103 of the Bankruptcy Code or
 who are entitled to compensation or reimbursement pursuant to sections 503(b)(3)(D) or 506(b)
 of the Bankruptcy Code.

        1.43. “Executory Contract” shall refer to any executory contract or unexpired lease
 which is subject to section 365 of the Bankruptcy Code.

         1.44. "Final Decree" shall mean the decree contemplated under Bankruptcy Rule 3022
 closing this Bankruptcy Case.



 Amended Plan of Reorganization of Tenet Concepts, LLC                                         Page 4
Case 18-40270-elm11 Doc 272 Filed 05/24/19             Entered 05/24/19 12:31:59         Page 6 of 33



         1.45. “Final Order" means an order or judgment of the Bankruptcy Court or any other
 court or adjudicative body, as to which the time to appeal or seek rehearing or petition for
 certiorari shall have expired, and which such order or judgment shall no longer be subject to
 appeal, rehearing, or certiorari proceeding.

         1.46. "General Unsecured Claim” shall mean a Claim which is not a Secured Claim, is
 not an Administrative Expense and is not entitled to priority of distribution pursuant to section
 507 of the Bankruptcy Code, and includes any Rejection Claims pursuant to section 502(g) of
 the Bankruptcy Code.

        1.47. “Governmental Bar Date” shall mean July 18, 2016, the date by which
 governmental units must file proofs of claim pursuant to section 502(b)(9) and Bankruptcy Rule
 3002(c)(1).

       1.48. “Governmental Unit” shall have the same meaning as in section 101(27) of the
 Bankruptcy Code.

        1.49.   “Hartford” shall mean Hartford Underwriting Insurance Company.

        1.50. “Hartford Agreement” shall mean the Repayment Agreement dated as of October
 12, 2017, among the Debtor, Hartford and Principle.

       1.51.    “Hartford Claim” shall mean the Claim by Hartford pursuant to the Hartford
 Agreement.

          1.52. “Initial Distribution Date”, when used with respect to any Allowed Claim shall
 mean the first Business Day of the second full calendar month after the Effective Date, and
 when used with respect to any Contested Claim or Rejection Claim, shall mean the later of (i)
 the first Business Day at least thirty (30) days after the date on which any such Contested Claim
 or Rejection Claim becomes an Allowed Claim, or (ii) if the payment terms of Article IV of this
 Plan applicable to each such Claim specify a different date, then the date as calculated
 pursuant to the terms of Article IV of this Plan applicable to each such Claim. The Initial
 Distribution Date shall be separately determined with respect to each Claim.

        1.53.   “Interest” shall mean any equity interest in the Debtor.

        1.54.   “Jeffrey Lines” shall mean the individual who is the plaintiff in the Lines Lawsuit.

        1.55. “Lien" means any mortgage, lien, charge, security interest, encumbrance, or
 other security device of any kind affecting any Asset, including any right of offset asserted
 against any Asset.

        1.56.   “Lines Lawsuit” shall refer to the following lawsuit:

                Jeffrey Lines, individually and on behalf of others similarly situated
                v. Amazon.com, Inc. and Tenet Concepts, LLC, Cause No. 2:17-
                cv-0072 in the United States District Court for the Western District
                of Texas, Austin Division.




 Amended Plan of Reorganization of Tenet Concepts, LLC                                         Page 5
Case 18-40270-elm11 Doc 272 Filed 05/24/19            Entered 05/24/19 12:31:59        Page 7 of 33



        1.57.   “Mukes Lawsuit” shall refer to the following lawsuit:

                Willie J. Mukes, on behalf of himself and others similarly situated,
                v. Tenet Concepts, LLC, Cause No. 4:17-cv-00692 in the United
                States District Court for the Southern District of Texas.

         1.58. “Monthly Plan Payment” shall mean the following: (a) for months 1 through 36 of
 the Plan, the sum of $5,656.31 (inclusive of interest); and (b) for months 37 through 79 of the
 Plan, a sum sufficient to pay each Allowed Claim in full through 43 substantially equal monthly
 payments, including both principal and interest. A schedule of the Monthly Plan Payments,
 although subject to change for months 37 through 79 of the Plan, is attached to the Disclosure
 Statement as its Exhibit 3. The Monthly Plan Payment shall be solely used to pay Allowed
 Claims in Classes 5, 6, and 7.

        1.59. “Objection" includes (a) an objection to the allowance of a Claim interposed by
 any party entitled to do so within the applicable period of limitation fixed by the Plan, the
 Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court, and (b) as to any Taxing
 Authority, shall include a proceeding commenced under section 505 of the Bankruptcy Code to
 determine the legality or amount of any tax. Any pleading seeking to subordinate or
 recharacterize a Claim shall also constitute an Objection.

         1.60. “Objection Deadline" shall mean the later of (a) ninety (90) days following the
 Effective Date, unless otherwise extended by order of the Bankruptcy Court, or (b) as to any
 Rejection Claim filed after the Effective Date, ninety (90) days after the date on which the proof
 of Claim reflecting the Rejection Claim is filed.

           1.61. “Person" includes any individual, any type of incorporated or registered business
 or nonprofit entity, including any corporation, general partnership, limited partnership, limited
 liability company, limited liability partnership, association, joint stock company, joint venture,
 estate, trust, unincorporated organization, governmental entity or unit, or any political
 subdivision thereof, or any other entity of every type or nature.

        1.62.   “Petition Date" means January 25, 2018.

         1.63. “Plan" means the Plan of Reorganization filed on November 7, 2018, as it may be
 altered, amended, modified, or supplemented from time-to-time, including by this Amended Plan
 of Reorganization for Tenet Concepts, LLC.

         1.64. “Plan Documents” shall refer to the documents that aid in effectuating the Plan as
 specifically identified as such herein and filed with the Bankruptcy Court as specified in Article
 I.B. hereof.

        1.65. “Plan Objection Deadline” shall mean the deadline for objections to the Plan set
 by order of the Bankruptcy Court

       1.66.    “Plan Rate” shall mean a rate of simple interest equal to three percent (3%) per
 annum.

        1.67.   “Principle” shall mean Principle Distribution, LLC.

        1.68.   “Priority Claim" means a Claim that is entitled to priority of payment under



 Amended Plan of Reorganization of Tenet Concepts, LLC                                         Page 6
Case 18-40270-elm11 Doc 272 Filed 05/24/19            Entered 05/24/19 12:31:59          Page 8 of 33



 sections 507(a)(4) through (7) of the Bankruptcy Code.

        1.69. “Priority Tax Claim” means a Claim entitled to priority of payment pursuant to
 section 507(a)(8) of the Bankruptcy Code, other than any Property Tax Claims.

         1.70. “Pro Rata Share” shall mean, as to the holder of a specific Claim, the ratio that
 the amount of such holder’s Claim bears to the aggregate amount of all Claims included in the
 particular Class or category in which such holder’s Claim is included.

        1.71. “Reorganized Debtor” means Tenet Concepts, LLC from and after the Effective
 Date of this Plan.

        1.72. “Retained Causes of Action” means those causes of action, claims,
 counterclaims, defenses and rights of offset or recoupment retained by the Reorganized Debtor
 as described in Article VIII of the Plan and in Exhibit A to the Plan.

       1.73. “Rejection Claim" means a Claim arising under section 502(g) of the Bankruptcy
 Code as a consequence of the rejection of any Executory Contract.

         1.74. “Schedules" means the schedules of assets and liabilities and the statement of
 financial affairs filed by the Debtor as required by section 521 of the Bankruptcy Code.

       1.75. “Schedule of Rejected Executory Contracts” means the Schedule of Rejected
 Executory Contracts attached to this Plan as Exhibit B.

         1.76. “Secured Claim" shall mean (a) a Claim secured by a Lien against an Asset, to
 the extent such Lien is valid, perfected and enforceable under applicable non-bankruptcy law
 and is not subject to avoidance under the Bankruptcy Code or other applicable non-bankruptcy
 law, and which is duly Allowed, but only to the extent that such Claim does not exceed the value
 of the Assets which the Bankruptcy Court finds are valid security for such Claim (except, if the
 holder of such Claim makes the election provided for in section 1111(b)(2) of the Bankruptcy
 Code, the entire amount of the Claim shall be a Secured Claim), and (b) any valid and
 enforceable right of offset asserted against the Debtor or any Asset.

        1.77.   “Secured Creditor" shall mean the holder of a Secured Claim.

        1.78. “Substantial Consummation" means the day on which the Estate’s Assets are
 vested in the Reorganized Debtor.

         1.79. “Taxing Authority” shall include the State of Texas or any subdivision thereof,
 including without limitation any political subdivision of the State of Texas assessing ad valorem
 taxes against any of the Assets.

        1.80.   “Triumph” shall mean Triumph Business Capital.

        1.81. “Unclaimed Property" means any Cash, Distribution, payment or any other
 property unclaimed for a period of one hundred twenty (120) days after the date of the
 applicable Distribution, or such longer period which the Reorganized Debtor may fix in the
 exercise of its good faith business judgment.

        1.82.   “U.S. Trustee” shall mean the office of the U.S. Trustee for Region 6.



 Amended Plan of Reorganization of Tenet Concepts, LLC                                        Page 7
Case 18-40270-elm11 Doc 272 Filed 05/24/19             Entered 05/24/19 12:31:59         Page 9 of 33



       1.83. "U.S. Trustee Fees” shall mean the quarterly fees paid to the U.S. Trustee
 pursuant to 28 U.S.C., section 1930(a)(6).

        1.84.   “Xu Lawsuit” shall refer to the following lawsuit:

                Chen Xu, on behalf of himself and others similarly situated, v.
                Tenet Concepts, LLC, and Does 1-100, Cause No. 5:17-cv-05175
                in the United States District Court for the Northern District of
                California, San Jose Division.

 B.     Rules of Interpretation and Construction of Terms

                 Unless otherwise specified, all section, Article and exhibit references in this Plan
 are to the respective section in, Article of, or exhibit to, the Plan as the same may be amended,
 supplemented, or otherwise modified from time to time. The headings in the Plan are for
 convenience and reference only and shall not limit or otherwise affect the provisions or the
 interpretation hereof.

                  The words “herein,” hereof,” and “hereunder” or other words of similar import
 shall refer to the Plan as a whole and not to any particular article, section, subsection or clause
 contained in the Plan, unless the context requires otherwise.

                 Whenever from the context it appears appropriate, each term stated in either the
 singular or plural includes both singular and plural, and pronouns stated in masculine, feminine
 or neuter form shall include all of the masculine, feminine or neuter form.

                The rules of construction set forth in section 102 of the Bankruptcy Code shall
 apply to the Disclosure Statement, this Plan, the Confirmation Order and all Plan Documents.

                References herein to “after notice and hearing” or other similar language shall
 have the same meaning as in section 102(1) of the Bankruptcy Code. Otherwise, terms used
 herein that are not specifically defined herein shall have the meaning ascribed to those terms, if
 any, in the Bankruptcy Code.

                All Exhibits to the Plan and all Plan Documents are incorporated into the Plan by
 this reference and are a part of the Plan as if set forth in full herein. Certain Plan Documents
 may be filed with the Clerk of the Bankruptcy Court prior to the commencement of the
 Confirmation Hearing. Holders of Claims and Interests may obtain a copy of the Plan
 Documents, once filed, by a written request sent to the following address: Forshey & Prostok,
 LLP, 777 Main Street, Suite 1290, Fort Worth, Texas 76102, Attention: Linda Breedlove; Fax
 Number (817) 877-4151; email: lbreedlove@forsheyprostok.com.

                 Reference herein to any agreement, contract, instrument or other document in
 this Plan shall refer to such agreement, contract, instrument or document as amended,
 supplemented or modified.

                                       ARTICLE II
                        CLASSIFICATION OF CLAIMS AND INTERESTS

                Classes of Claims. The following is a designation of the Classes of Claims and
 Interests pursuant to this Plan. Administrative Expenses and Priority Tax Claims have not been



 Amended Plan of Reorganization of Tenet Concepts, LLC                                         Page 8
Case 18-40270-elm11 Doc 272 Filed 05/24/19           Entered 05/24/19 12:31:59        Page 10 of 33



 classified and are excluded from the following Classes in accordance with section 1123(a)(1) of
 the Bankruptcy Code. A Claim shall be deemed classified in a particular Class only to the
 extent that the Claim qualifies within the description of that Class. A Claim is included in a
 particular Class only to the extent that the Claim is an Allowed Claim within that Class.

                Claims and Interests. Allowed Claims and Interests against or in the Debtor are
 classified under this Plan as follows:

                (a)    Class 1 – Triumph Claim

                (b)    Class 2 – Priority Claims

                (c)    Class 3 – Hartford Claim

                (d)    Class 4 – Amazon Claim

                (e)    Class 5 – General Unsecured Claims

                (f)    Class 6 – Lines Lawsuit Claims

                (g)    Class 7 – Mukes Lawsuit Claims

                (h)    Class 8 – Equity Interests

               Impaired Classes of Claims and Interests. Classes 1, 2, 3, and 8 are unimpaired.
 Classes 4 through 7 are impaired.

                 Impairment or Classification Controversies. If a controversy arises as to the
 classification of any Claim or Interest, or as to whether any Class of Claims or Interests is
 impaired under the Plan, the Bankruptcy Court shall determine such controversy as a part of the
 confirmation process.

                                 ARTICLE III
        TREATMENT OF ADMINISTRATIVE EXPENSES AND PRIORITY TAX CLAIMS

                Administrative Expenses.

                 (a)     The Reorganized Debtor shall pay, in the ordinary course of its business
 and in accordance with the ordinary business terms applicable to each such expense or cost,
 the reasonable and ordinary expenses incurred in operating the Debtor’s business or
 administering the Estate before the Effective Date (“Ordinary Course Claims”). The remaining
 provisions of this section 3.1 shall not apply to the Ordinary Course Claims, except that if there
 is a dispute relating to any such Ordinary Course Claim, the Reorganized Debtor may move the
 Bankruptcy Court to apply the provisions of Article IX below relating to Contested Claims and
 require the holder of the Contested Ordinary Course Claim to assert such Claim through this
 Bankruptcy Case.

                 (b)    Each holder of an Allowed Administrative Expense (other than Ordinary
 Course Claims and Administrative Expense Claims by Estate Professionals), shall receive (i)
 the amount of such holder's Allowed Administrative Expense in one Cash payment on the later
 of the Effective Date or the tenth (10th) Business Day after such Administrative Expense



 Amended Plan of Reorganization of Tenet Concepts, LLC                                       Page 9
Case 18-40270-elm11 Doc 272 Filed 05/24/19             Entered 05/24/19 12:31:59         Page 11 of 33



 becomes an Allowed Administrative Expense, or (ii) such other treatment as may be agreed to
 in writing by such Administrative Expense Creditor and the Reorganized Debtor, or as otherwise
 ordered by the Bankruptcy Court.

                 (c)    Unless the Bankruptcy Court orders to the contrary or the Reorganized
 Debtor agrees to the contrary in writing, the holder of a Claim for an Administrative Expense,
 other than such a Claim by an Estate Professional, an Ordinary Course Claim, or an
 Administrative Expense which is already Allowed, shall file with the Bankruptcy Court and serve
 upon the Reorganized Debtor and its counsel a written notice of such Claim for an
 Administrative Expense within thirty (30) days after the Effective Date. This deadline is the
 Administrative Bar Date. Such notice shall include at a minimum: (i) the name, address,
 telephone number and fax number (if applicable) or email address of the holder of such Claim,
 (ii) the amount of such Claim, and (iii) the basis of such Claim. Failure to timely and properly file
 and serve such notice by or on the Administrative Bar Date shall result in such Claim for an
 Administrative Expense being forever barred from receiving any Distribution.

                (d)      A Claim for an Administrative Expense, for which a proper notice was
 filed and served under subsection 3.1(c) above, shall become an Allowed Administrative
 Expense if no Objection is filed within thirty (30) days of the filing and service of such notice. If
 a timely Objection is filed, the Claim shall become an Allowed Administrative Expense only to
 the extent allowed by a Final Order.

                (e)     The procedures contained in subsections 3.1(a), (c) and (d) above shall
 not apply to Administrative Expense Claims asserted by Estate Professionals, who shall each
 file and submit an appropriate final fee application to the Bankruptcy Court no later than sixty
 (60) days after the Effective Date. A Claim for an Administrative Expense by an Estate
 Professional in respect of which a final fee application has been properly filed and served shall
 become an Allowed Administrative Expense only to the extent allowed by Final Order and, if so
 Allowed, shall be paid in accordance with subsection 3.1(b) above. Professional fees and
 expenses to any Estate Professional incurred on or after the Effective Date may be paid by the
 Reorganized Debtor without necessity of application to or order by the Bankruptcy Court.

                (f)    If the Reorganized Debtor asserts any Estate Claim as a counterclaim or
 defense to a Claim for an Administrative Expense, the Administrative Expense Claim shall be
 determined through an adversary proceeding before the Bankruptcy Court. The Bankruptcy
 Court shall have exclusive jurisdiction to adjudicate and Allow all Claims for any Administrative
 Expense.

                (g)    Protective Insurance Company shall have an Administrative Expense
 Claim in the amount of $70,431.00, which it has agreed may be paid as follows: $40,000.00 on
 the Effective Date, $15,431.00 on or before the 60th day after the Effective Date, and
 $15,000.00 on or before the 120th day after the Effective Date.

                Priority Tax Claims. Each holder of an Allowed Priority Tax Claim shall receive,
 at the Debtor’s option, (a) the amount of such holder’s Allowed Claim in one Cash payment on
 the applicable Distribution Date; (b) the amount of such holder’s Allowed Claim paid through
 sixteen (16) substantially equal quarterly payments beginning on the first Business Day of the
 second full calendar month after the Effective Date; or (c) such other treatment as may be
 agreed to in writing by the holder of the Priority Tax Claim and the Debtor. Allowed Priority Tax
 Claims will be paid in accordance with §1129(a)(9)(C) and with interest as provided § 511 of the




 Amended Plan of Reorganization of Tenet Concepts, LLC                                         Page 10
Case 18-40270-elm11 Doc 272 Filed 05/24/19                       Entered 05/24/19 12:31:59         Page 12 of 33



 Bankruptcy Code.1

                 U.S. Trustee Fees. The Reorganized Debtor shall pay to the U.S. Trustee all
 unpaid U.S. Trustee Fees due and payable as of the Effective Date as well as all such fees
 which become due and payable after the Effective Date. Any U.S. Trustee Fees due as of the
 Effective Date shall be paid in full on the Effective Date or as soon thereafter as is practicable.
 After the Effective Date, the Reorganized Debtor shall continue to pay the U.S. Trustee Fees as
 they accrue and become due and payable until the Final Decree is entered and this Bankruptcy
 Case is closed.

             Governmental Bar Date. The Governmental Bar Date shall apply to all Claims by
 a Governmental Unit which are not Administrative Claims.

                                                ARTICLE IV
                                     TREATMENT OF CLAIMS AND INTERESTS

                       Class 1 – Triumph Claim. The Secured Claim held by Triumph shall be treated
 as follows:

                (a)    The Debtor and Triumph are parties to a Factoring and Security
 Agreement (“Factoring Agreement”) dated as of December 7, 2017. Pursuant to the Factoring
 Agreement, the Debtor has sold its accounts to Triumph. Pursuant to the Factoring Agreement,
 Triumph has the right to retain 2% of the face amount of the invoices in a reserve account to
 secure the Debtor’s obligations under the Factoring Agreement, including any repurchase
 obligations. The Factoring Agreement requires the Debtor to repurchase certain receivables,
 including those which are not paid within 90 days of the invoice date.

                 (b)     In the Factoring Agreement, in order to secure the Debtor’s obligations to
 Triumph, including the Debtor’s repurchase obligations, the Debtor grants Triumph a first-priority
 security interest in presently owned and thereafter acquired accounts, chattel paper, deposit
 accounts, inventory, equipment, instruments, documents, letter of credit rights, commercial tort
 claims and general intangibles (collectively the “Triumph Collateral”).

                  (c)     Triumph shall retain all rights, liens and remedies pursuant to the
 Factoring Agreement, including all Liens or rights in the Triumph Collateral and Reserve
 Account. All of the existing and hereinafter arising rights granted to Triumph and the Debtor’s
 monetary and non-monetary obligations2 contained in the Factoring and Security Agreement
 and Post-Petition Chapter 11 Bankruptcy Rider to the Factoring and Security Agreement
 between the Debtor and Triumph (collectively, the “Post-Petition Agreements”), and the Final
 Order (i) approving extension of a pre-petition factoring agreement on a post-petition basis; (ii)
 authorizing use of cash collateral, (iii) granting replacement liens, (iv) modifying the automatic
 stay, and (v) granting related relief dated February 13, 2018 (Docket No. 33) (the “Final
 Financing Order”) are hereby expressly incorporated into the Plan, and shall remain post-
 confirmation in full force and effect and fully binding on the Reorganized Debtor and all parties-
 in-interest of the Reorganized Debtor. Nothing contained in the Plan, shall adversely effect,
 impair or interfere with any of Triumph’s rights and/or the Debtor’s and Reorganized Debtor’s
 1   As of the date of this filing, the interest rate is 6.5%.
 2The Debtor has repaid the prepetition monetary obligations owed to Triumph and is current on any post-petition
 monetary obligations owed to Triumph under the Post-Petition Agreements. To the best of the Debtor’s knowledge, it
 does not owe Triumph any payments, but this language is included to preserve the Reorganized Debtor’s ability to
 continue operating with Triumph post-confirmation under the Post-Petition Agreements.


 Amended Plan of Reorganization of Tenet Concepts, LLC                                                    Page 11
Case 18-40270-elm11 Doc 272 Filed 05/24/19           Entered 05/24/19 12:31:59        Page 13 of 33



 obligations to Triumph, under and with respect to the Post-Petition Agreements and the Final
 Financing Order, including, without limitation, Triumph’s ownership of Purchased Accounts (as
 defined by the Post-Petition Agreements and Final Financing Order) and duly perfected first
 priority security interests, liens and interests recognized or granted to Triumph, which are fully
 preserved and shall secure any prepetition, post-petition and post-confirmation advances, over
 advances, and/or financial accommodations made to the Debtor and Reorganized
 Debtor. Notwithstanding anything to the contrary, in the event of conflict between the Plan, the
 Confirmation Order and/or the Final Financing Order, the Final Financing Order will control.

                (d)    Class 1 is unimpaired.

                Class 2 – Priority Claims. Each holder of an Allowed Priority Claim shall receive:

                (a)      One Cash payment in an amount equal to the principal amount of such
 Allowed Priority Claim, plus interest at the rate and in the manner prescribed by applicable state
 law from the later of the Petition Date or the first day after the last day on which such Priority
 Claim may be paid without penalty, on the applicable Initial Distribution Date, or

                 (b)    Such other treatment as may be agreed to in writing by the holder of the
 Priority Claim and the Reorganized Debtor.

                (c)    Class 2 is unimpaired.

                Class 3 – Hartford Claim. The Claim held by Hartford shall be treated as follows:

                 (a)    The Allowed Claim of Hartford shall be paid by the Debtor in substantially
 equal monthly installments of $5,000.00 each, with the first such monthly payment being due on
 the first Business Day of the second full calendar month after the Effective Date until the
 Allowed Hartford Claim is paid in full. The Hartford Claim shall not be paid with the Monthly
 Plan Payment but will be paid from other funds of the Reorganized Debtor and/or by
 Principle. Notwithstanding the foregoing, and for the avoidance of doubt, the Repayment
 Agreement dated as of October 10, 2017, shall remain in full force and effect as between
 Hartford and Principle, including, without limitation, the balloon payment due on October 15,
 2019.

                 (b)    Principle shall execute appropriate documents evidencing its joinder in
 this Plan for the purposes of paying the Hartford Claim.

                (c)    The above treatment of the Hartford Claim represents an agreement
 negotiated with Hartford as to both the Debtor and Principle. Accordingly, Class 3 is
 unimpaired.

                Class 4 – Amazon Claim. The Claim held by Amazon shall be paid as follows:

               (a)     Pursuant to the terms of the Amazon Agreement, Debtor has agreed to
 indemnify Amazon for the Claims asserted against Amazon in the Lines Lawsuit. Amazon’s
 Allowed Claim will be paid by the Debtor in substantially equal monthly installments as may be
 agreed between the Debtor and Amazon. The Amazon Claim shall not be paid with the Monthly
 Plan Payment but will be paid from other funds of the Reorganized Debtor.

                (b)    Class 4 is impaired.



 Amended Plan of Reorganization of Tenet Concepts, LLC                                      Page 12
Case 18-40270-elm11 Doc 272 Filed 05/24/19                    Entered 05/24/19 12:31:59             Page 14 of 33



                Class 5 – General Unsecured Claims. Each Allowed General Unsecured Claim
 shall be treated as follows:

                 (a)    Each holder of an Allowed General Unsecured Claim shall be paid in full
 in seventy-nine (79) monthly payments. The monthly amount of each payment shall be such
 Claimant’s Pro Rata Share of the Monthly Plan Payment. The first such payment being due on
 the first Business Day of the second calendar month after the Initial Distribution Date applicable
 to each such Allowed Class 5 Claim and a monthly payment being made in the first day of each
 successive calendar month thereafter. Each such installment shall include both principal and
 interest. Each such Allowed Class 5 Claim shall bear interest from and after the Effective Date
 at the Plan Rate.

                  (b)      Claim 5 is impaired.

                 (c)    Subject to the occurrence of the Effective Date, Protective Insurance
 Company and the Debtor agree that Protective Insurance Company’s general unsecured claim
 shall be an Allowed General Unsecured Claim of $216,000.003 and that no separate motion or
 order is required, other than this Modification and the Confirmation Order.

                Class 6 – Lines Lawsuit Claim. Class 6 shall include all holders of Allowed
 Claims based upon the acts, circumstances and transactions which form the basis of the Claims
 asserted in the Lines Lawsuit, including any Allowed individual Claim of Jeffrey Lines.

                (a)        In relation to the Class 6 Claims, the Bankruptcy Court has entered the
 following orders:

                       i.        An Order Sustaining Objection to Proof of Claim Number 10 filed
         by Jeffrey Lines [Docket No. 262] (“Lines Order”) disallowing in full the Claim asserted
         by Jeffrey Lines, individually, against the Debtor pursuant to proof of claim no. 10; and

                       ii.      An Order Sustaining Objection to Proof of Claim Number 11 filed
         by Jeffrey Lines and Similarly Situated Amazon Prime Now Delivery Drivers [Docket No.
         261] (“Lines Collective Order”) disallowing in full the Claim asserted by Jeffrey Lines in
         proof of claim no. 11 pursuant to the Fair Labor Standards Act, 29 U.S.C., section 201 et
         seq. (“FLSA”) on behalf of similarly situated Amazon Prime Now Delivery Drivers.

                (b)     Pursuant to the Lines Order, any Claim against the Debtor by Jeffrey
 Lines has been disallowed in full. Pursuant to the Lines Collective Order, any collective Claim
 by Jeffrey Lines pursuant to the FLSA on behalf of others similarly situated has also been
 disallowed in full. Accordingly, neither Jeffrey Lines nor any other potential member of Class 6
 holds an Allowed Class 6 Claim. Pursuant to section 5.3 of the Plan, Class 6 is vacant and
 eliminated unless and until reversal or modification of the Lines Order and/or the Lines
 Collective Order.

              (c)     Based on the Lines Order and the Lines Collective Order, the Debtor or
 Reorganized Debtor shall move the Bankruptcy Court, as soon as practicable, to enter a final
 judgment dismissing the Lines Lawsuit with prejudice as to all defendants.


 3This represents an agreed reduction in Protective Insurance Company’s general unsecured claim, as filed in proof
 of claim number 9 on the claims register, from $431,856.00 to $216,000.00.


 Amended Plan of Reorganization of Tenet Concepts, LLC                                                     Page 13
Case 18-40270-elm11 Doc 272 Filed 05/24/19            Entered 05/24/19 12:31:59        Page 15 of 33



                  (d)     In the event that either the Lines Order or the Lines Collective Order is
 reversed or modified on appeal: (i) the Reorganized Debtor shall retain all rights, defenses and
 affirmative defenses as to any Person asserting a Class 6 Claim; and (ii) the Bankruptcy Court
 shall retain jurisdiction to determine and adjudicate the Allowance of all Class 6 Claims.

                (e)    Each Creditor asserting a Class 6 Claim must file an appropriate proof of
 claim on or before the Bar Date. No collective proof of claim shall be recognized as to any
 member of Class 6. All Class 6 Claims shall be deemed as Contested Claims for purposes of
 this Plan. Any Class 6 Creditor who fails to file a timely proof of claim shall not be entitled to
 any Distribution pursuant to this Plan.

               (f)      The Bankruptcy Court shall retain jurisdiction to enter a final judgment in
 the Lines Lawsuit.

                (g)    The provisions of subsections (h) and (i) below shall only apply to the
 extent that any Class 6 Claim, including that asserted by Jeffrey Lines, individually, becomes an
 Allowed Claims.

                (h)     Any holders of Allowed Class 6 Claims shall be paid in full in seventy-nine
 (79) monthly payments. The monthly amount of each payment shall be such Claimant’s Pro
 Rata Share of the Monthly Plan Payment. The first such payment being due on the first
 Business Day of the second calendar month after the Initial Distribution Date applicable to each
 such Allowed Class 6 Claim and a monthly payment being made in the first day of each
 successive calendar month thereafter. Each such installment shall include both principal and
 interest. Each such Allowed Class 6 Claim shall bear interest from and after the Effective Date
 at the Plan Rate.

                (i)     To the extent that any Class 6 Claim ever becomes an Allowed Claim,
 Class 6 is impaired.

                Class 7 – Mukes Lawsuit Claims. Class 7 shall include all holders of Allowed
 Claims based upon the acts, circumstances and transactions which form the basis of the Claims
 asserted in the Mukes Lawsuit, including any Allowed individual Claim of Willie J. Mukes.

                (a)     In relation to the Class 7 Claims, the Bankruptcy Court has entered the
 following orders:

                      i.       An Order Sustaining Objection to Proof of Claim Number 12 filed
        by Willie J. Mukes [Docket No. 263] (“Mukes Order”) disallowing in full the Claim
        asserted by Willie J. Mukes, individually, against the Debtor pursuant to proof of claim
        no. 12; and

                      ii.       An Order Sustaining Objection to Proof of Claim Number 13 filed
        by Willie J. Mukes and All Other Tenet Concepts, LLC Former and Current Employees
        Similarly Situated [Docket No. 264] (“Mukes Collective Order”) disallowing in full the
        Claim asserted by Willie J. Mukes in proof of claim no. 13 pursuant to the FLSA on
        behalf of similarly situated drivers.

                (b)    Pursuant to the Mukes Order, any Claim against the Debtor by Willie J.
 Mukes has been disallowed in full. Pursuant to the Mukes Collective Order, any collective
 Claim by Willie J. Mukes pursuant to the FLSA on behalf of others similarly situated has also


 Amended Plan of Reorganization of Tenet Concepts, LLC                                       Page 14
Case 18-40270-elm11 Doc 272 Filed 05/24/19           Entered 05/24/19 12:31:59        Page 16 of 33



 been disallowed in full. Accordingly, neither Willie J. Mukes nor any other potential member of
 Class 7 holds an Allowed Class 7 Claim. Pursuant to section 5.3 of the Plan, Class 7 is vacant
 and eliminated unless and until reversal or modification of the Mukes Order and/or the Mukes
 Collective Order.

                  (c)     In the event that either the Mukes Order or the Mukes Collective Order is
 reversed or modified on appeal: (i) the Reorganized Debtor shall retain all rights, defenses and
 affirmative defenses as to any Person asserting a Class 7 Claim; and (ii) the Bankruptcy Court
 shall retain jurisdiction to determine and adjudicate the Allowance of all Class 7 Claims.

                (d)    Each Creditor asserting a Class 7 Claim must file an appropriate proof of
 claim on or before the Bar Date. No collective proof of claim shall be recognized as to any
 member of Class 7. All Class 7 Claims shall be deemed as Contested Claims for purposes of
 this Plan. Any Class 7 Creditor who fails to file a timely proof of claim shall not be entitled to
 any Distribution pursuant to this Plan.

                (e)    The provisions of subsections (f) and (g) below shall only apply to the
 extent that any Class 7 Claim, including that asserted by Willie J. Mukes, individually, becomes
 an Allowed Claims.

                (f)     Any holders of Allowed Class 7 Claims shall be paid in full in seventy-nine
 (79) monthly payments. The monthly amount of each payment shall be such Claimant’s Pro
 Rata Share of the Monthly Plan Payment. The first such payment being due on the first
 Business Day of the second calendar month after the Initial Distribution Date applicable to each
 such Allowed Class 6 Claim and a monthly payment being made in the first day of each
 successive calendar month thereafter. Each such installment shall include both principal and
 interest. Each such Allowed Class 7 Claim shall bear interest from and after the Effective Date
 at the Plan Rate.

                (g)     To the extent that any Class 7 Claim ever becomes an Allowed Claim,
 Class 7 is impaired.

                Class 8 – Interests in the Debtor. Interests in the Debtor shall be retained by the
 holders thereof, although subject to the terms of this Plan. Class 8 is unimpaired.

                                      ARTICLE V
                            ACCEPTANCE OR REJECTION OF PLAN

                 Classes Entitled to Vote. Each impaired Class of Claims entitled to vote shall
 separately vote to accept or reject the Plan. Any unimpaired Class shall not be entitled to vote
 to accept or reject the Plan. Any unimpaired Class is deemed to have accepted the Plan under
 section 1126(f) of the Bankruptcy Code.

                  Class Acceptance Requirement. A Class of Claims shall have accepted the Plan
 if it is accepted by at least two-thirds (2/3) in amount and more than one-half (1/2) in number of
 the Allowed Claims in such Class that have voted on the Plan.

                 Elimination of Vacant Classes. Any Class of Claims that is not occupied as of
 the date of the commencement of the Confirmation Hearing by an Allowed Claim or a Claim
 temporarily Allowed under Bankruptcy Rule 3018 shall be deemed eliminated from the Plan for
 purposes of voting to accept or reject the Plan and for purposes of determining acceptance or



 Amended Plan of Reorganization of Tenet Concepts, LLC                                      Page 15
Case 18-40270-elm11 Doc 272 Filed 05/24/19            Entered 05/24/19 12:31:59         Page 17 of 33



 rejection of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

                Cramdown. This section shall constitute the request by the Plan proponent,
 pursuant to section 1129(b) of the Bankruptcy Code, for the Bankruptcy Court to confirm this
 Plan notwithstanding the fact that the requirements of section 1129(a)(8) of the Bankruptcy
 Code have not been met.

                                      ARTICLE VI
                         MEANS OF IMPLEMENTATION OF THE PLAN

                 Transfer and Vesting of Assets. As of the Effective Date, all Assets shall be
 transferred to and vested in the Reorganized Debtor. The Assets shall be vested in the
 Reorganized Debtor free and clear of all Liens, Claims, rights, Interests and charges, except as
 expressly provided in this Plan.

                Assumption of Obligation to Make Distributions. The Reorganized Debtor shall
 be deemed to have assumed the obligation to make all Distributions pursuant to this Plan,
 including the obligation to make all Distributions on account of Allowed Claims.

                 Actions by the Debtor and the Reorganized Debtor to Implement the Plan. The
 entry of the Confirmation Order shall constitute all necessary authorization for the Debtor and
 the Reorganized Debtor to take or cause to be taken all actions necessary or appropriate to
 consummate, implement or perform all provisions of this Plan on and after the Effective Date,
 and all such actions taken or caused to be taken shall be deemed to have been authorized and
 approved by the Bankruptcy Court without further approval, act or action under any applicable
 law, order, rule or regulation.

               Continued Existence of the Debtor. The Debtor shall continue to exist, as a
 Reorganized Debtor, after the Effective Date, with all powers available to such legal entity, in
 accordance with applicable law and pursuant to its constituent documents. Upon the Effective
 Date, the Reorganized Debtor may, within its sole and exclusive discretion, take such action as
 permitted by applicable law and its constituent documents as it determines is reasonable and
 appropriate.

                Management of the Reorganized Debtor. From and after the Effective Date, the
 Reorganized Debtor shall be managed in accordance with applicable law. There will be no
 change in the Debtor’s management upon the Effective Date. The Reorganized Debtor shall
 continue to be managed by its current management, including: (a) Lloyd Jones, who currently
 serves as CEO; (b) Scott Cass, who currently serves as President and CFO; (c) Tom Mauriello,
 who currently serves as COO; and (d) Brent Harris, who currently serves as Vice President.

                Source of Funding for Operations and Plan Obligations. The obligations under
 the Plan shall be funded by operation of the Reorganized Debtor’s business.

                Post-Effective Date Service List. Pleadings filed by any party-in-interest with the
 Bankruptcy Court after the Effective Date shall be served on the following Persons (collectively
 the “Service List”): (i) any Person directly affected by the relief sought in the pleading, (ii) the
 U.S. Trustee, (iii) parties which have filed a Notice of Appearance in this Bankruptcy Case, and
 (iv) the Reorganized Debtor through legal counsel.

                Section 505 Powers. All rights and powers pursuant to section 505 of the



 Amended Plan of Reorganization of Tenet Concepts, LLC                                        Page 16
Case 18-40270-elm11 Doc 272 Filed 05/24/19           Entered 05/24/19 12:31:59        Page 18 of 33



 Bankruptcy Code are hereby reserved to the Estate and shall be transferred to, and vested in,
 the Reorganized Debtor as of the Effective Date.

                Section 510(c) Powers. All rights and powers to seek or exercise any right or
 remedy of equitable subordination or are hereby reserved to the Estate and shall be transferred
 to, and vested in, the Reorganized Debtor as of the Effective Date as an Estate Defense.

                 Section 506(c) Powers. The Estate hereby reserves all rights and powers
 pursuant to section 506(c) of the Bankruptcy Code, and all such rights shall be specifically
 transferred to, and vested in, the Reorganized Debtor.

                 Plan Injunction. The Reorganized Debtor shall have full power, standing an
 authority to enforce the Plan Injunction against any Person, either through an action before the
 Bankruptcy Court or any other tribunal having appropriate jurisdiction.

                                       ARTICLE VII
                           PROVISIONS GOVERNING DISTRIBUTION

              Distributions. All Distributions to be made under this Plan shall be made by the
 Reorganized Debtor in the manner provided in this Plan and the Confirmation Order.

                Timing and Amount of Distributions. No Distribution shall be made on account of
 any Claim until such Claim is Allowed, except as otherwise set forth in this Plan or otherwise
 ordered by the Bankruptcy Court. No Distribution shall be made on account of any Contested
 Claim until such Claim is Allowed. Except as expressly set forth in the Plan or in the
 Confirmation Order, the Reorganized Debtor shall, in the exercise of its good faith business
 judgment, determine the timing and amount of all Distributions which are required to be made
 under the Plan, consistent with the goal of making such Distributions as expeditiously as
 reasonably possible. The Reorganized Debtor may, but shall not be required to, seek approval
 of, or any other appropriate relief from, the Bankruptcy Court with respect to any of such
 Distributions. Any Unclaimed Property may be paid into the registry of the Bankruptcy Court or
 otherwise distributed in accordance with the orders of the Bankruptcy Court.

              Means of Cash Payment. Cash payments pursuant to this Plan shall be made by
 check drawn on, or by wire transfer from, a domestic bank, or by other means agreed to by the
 payor and payee.

                  Record Date for Distributions. As of the close of business on the Effective Date
 (the “Distribution Record Date”), the register for Claims and Interests will be closed, and there
 shall be no further changes in the holder of record of any Claim or Interest. Although there is no
 prohibition against the transfer of any Claim by any Creditor, the Reorganized Debtor shall have
 no obligation to recognize any transfer of any Claims or Interests occurring after the Distribution
 Record Date, and the Reorganized Debtor shall instead be authorized and entitled to recognize
 and deal for all purposes under this Plan, including for the purpose of making all Distributions,
 with only those holders of Claims so reflected as of the Distribution Record Date. However, the
 Reorganized Debtor may, in the exercise of its good faith business judgment, agree to
 recognize transfers of Claims after the Distribution Record Date, but shall have no obligation to
 do so.

               Delivery of Distributions. All Distributions, deliveries and payments to the holders
 of any Allowed Claims shall be made to the addresses set forth on the respective proofs of



 Amended Plan of Reorganization of Tenet Concepts, LLC                                      Page 17
Case 18-40270-elm11 Doc 272 Filed 05/24/19           Entered 05/24/19 12:31:59       Page 19 of 33



 Claim filed in this Bankruptcy Case by such Claimants or, if the Distribution is to be made based
 on a Claim reflected as Allowed in the Schedules, at the address reflected in the Schedules.
 Any such Distribution, delivery or payment shall be deemed as made for all purposes relating to
 this Plan when deposited in the United States Mail, postage prepaid, addressed as required in
 the preceding sentence. If any Distribution is returned as undeliverable, no further Distribution
 shall be made on account of such Allowed Claim unless and until the Reorganized Debtor is
 notified of such holder's then current address, at which time all missed Distributions shall be
 made to the holder of such Allowed Claim. However, all notices to the Reorganized Debtor
 reflecting new or updated addresses for undeliverable Distributions shall be made on or before
 one hundred twenty (120) days after the date of the attempted Distribution or such longer period
 as the Reorganized Debtor may fix in the exercise of its sole discretion. After such date, all
 Unclaimed Property shall revert to the Reorganized Debtor and the Claim of any holder with
 respect to such property shall be discharged and forever barred.

                W-9 Forms. W-9 forms must be provided to the Reorganized Debtor within thirty
 (30) days of a request made by the Reorganized Debtor. If no W-9 form is provided within thirty
 (30) days of such request, the Claim of such person or entity shall be discharged and forever
 barred.

                 Time Bar to Cash Payments. Checks issued in respect of Allowed Claims shall
 be null and void if not cashed within ninety (90) days of the date of issuance thereof. Requests
 for reissuance of any check shall be made directly to the Reorganized Debtor by the holder of
 the Allowed Claim with respect to which such check originally was issued. Any Claim in respect
 of such a voided check shall be made on or before one hundred twenty (120) days after the
 date of issuance of such check or such longer period as the Reorganized Debtor may fix. After
 such date, all Claims in respect of void checks shall be discharged and forever barred.

                 Cure Period. Except as otherwise set forth herein, the failure by the Reorganized
 Debtor to timely perform any term, provision or covenant contained in this Plan, or to make any
 payment or Distribution required by this Plan to any Creditor, or the failure to make any payment
 or perform any covenant on any note, instrument or document issued pursuant to this Plan,
 shall not constitute an event of default unless and until the Reorganized Debtor has been given
 thirty (30) days written notice of such alleged default in the manner provided in this Plan, and
 provided an opportunity to cure such alleged default. Until the expiration of such thirty (30) day
 cure period, the Reorganized Debtor shall not be in default, and performance during such thirty
 (30) day cure period shall be deemed as timely for all purposes. Such written notice and
 passage of the thirty (30) day cure period shall constitute conditions precedent to declaring or
 claiming any default under this Plan or bringing any action or legal proceeding by any Person to
 enforce any right granted under this Plan. Cure periods shall be determined separately for each
 payment default and for each Creditor entitled to a Distribution under this Plan. A failure by the
 Reorganized Debtor to make a payment to the Texas Comptroller of Public Accounts (the
 “Comptroller”) pursuant to the terms of the Plan shall be an event of default as to the
 Comptroller. If the Reorganized Debtor fails to cure an event of default as to tax payments
 within ten (10) days after service of written notice of default from the Comptroller, the
 Comptroller may (a) enforce the entire amount of its claim, (b) exercise all rights and remedies
 under applicable nonbankruptcy law, and (c) seek such relief as may be appropriate in this
 court. Notice of the default shall be served by first class mail upon the reorganized Debtor at:
 8200 Cameron Rd., Suite A198, Austin, TX 78754, Attn: Chief Executive Officer, and upon
 Debtor’s attorney at: Forshey & Prostok, LLP, 777 Main St., Suite 1290, Fort Worth, TX 76102,
 Attn: J. Robert Forshey, Esq and Laurie Dahl Rea. The Debtor shall be allowed to cure up to
 two (2) defaults. Upon a third default, the Comptroller, at its option, may declare the default


 Amended Plan of Reorganization of Tenet Concepts, LLC                                     Page 18
Case 18-40270-elm11 Doc 272 Filed 05/24/19            Entered 05/24/19 12:31:59         Page 20 of 33



 non-curable and proceed to collect the remainder of the debt.

                Distributions after Substantial Consummation. All Distributions of any kind made
 to any Creditor after Substantial Consummation and any and all other actions taken under this
 Plan after Substantial Consummation shall not be subject to relief, reversal or modification by
 any court unless the implementation of the Confirmation Order is stayed by an order granted
 under Bankruptcy Rule 8005.

                                 ARTICLE VIII
         RETENTION OF RETAINED CAUSES OF ACTION AND ESTATE DEFENSES

                 Retention of Retained Causes of Action. Except as otherwise specifically
 provided in this Plan, pursuant to section 1123(b)(3) of the Bankruptcy Code, all Retained
 Causes of Action shall be transferred to, and vested in, the Reorganized Debtor, both for
 purposes of seeking an affirmative recovery against any Person and as an offset or defense
 against any Claim asserted against the Estate or Reorganized Debtor. Without limiting the
 generality of the foregoing, all applicable legal privileges of the Debtor or Estate, including both
 the attorney-client privilege and the work product privilege, shall be vested in the Reorganized
 Debtor which shall be clothed with the sole and exclusive standing and authority to assert any
 such privilege on behalf of the Debtor, Estate or Reorganized Debtor. All Retained Causes of
 Action shall be deemed to have been transferred to, and vested in, the Reorganized Debtor as
 of the Effective Date based on the entry of the Confirmation Order.

                 Without limiting the effectiveness or generality of the foregoing reservation, out of
 an abundance of caution, the Debtor and the Estate hereby specifically reserve and retain the
 Retained Causes of Action. Reference is here made to the Exhibit A to the Plan, which
 constitutes an integral part of this Plan. The provisions of this Article of the Plan, as well as the
 descriptions and disclosures relating to the Retained Causes of Action in the Disclosure
 Statement, are provided in the interest of providing maximum disclosure of the Retained Causes
 of Action of which Debtor is presently aware and shall not act as a limitation on the potential
 Retained Causes of Action that may exist. It is the specific intention of this Plan that all
 Avoidance Actions and all associated remedies, and any other causes of action, whether arising
 before or after the Petition Date, and whether arising under the Bankruptcy Code or applicable
 state or federal non-bankruptcy laws shall all be retained and preserved under this Plan to be
 transitioned to and vested in the Reorganized Debtor. All Retained Causes of Action are
 retained both as causes of action for an affirmative recovery and as counterclaims and offset to
 any Claims asserted against the Estate.

                 Retention of Estate Defenses. Except as otherwise specifically provided in this
 Plan, pursuant to section 1123(b)(3) of the Bankruptcy Code, all Estate Defenses shall be
 transferred to, and vested in, the Reorganized Debtor. For this purpose, all Estate Defenses
 are hereby reserved and retained by the Debtor and the Estate, including without limitation all
 such Estate Defenses available to the Estate pursuant to section 558 of the Bankruptcy Code.
 All Estate Defenses shall be deemed as transferred to, and vested in, the Reorganized Debtor
 as of the Effective Date based on the entry of the Confirmation Order.

               Assertion of Estate Claims and Estate Defenses. The Reorganized Debtor shall
 have, and be vested with, the exclusive right, authority and standing to assert all Estate Claims
 and Estate Defenses for the benefit of the Reorganized Debtor.




 Amended Plan of Reorganization of Tenet Concepts, LLC                                        Page 19
Case 18-40270-elm11 Doc 272 Filed 05/24/19             Entered 05/24/19 12:31:59         Page 21 of 33



                                 ARTICLE IX
           PROCEDURES FOR RESOLVING AND TREATING CONTESTED CLAIMS

                 Claims Listed in Schedules as Disputed. Any Claim which is listed in the
 Schedules as unliquidated, contingent or disputed, and for which no proof of Claim has been
 timely filed, shall be considered as Disallowed as of the Effective Date without the necessity of
 any further action by the Reorganized Debtor or further order of the Bankruptcy Court other than
 the entry of the Confirmation Order.

              Responsibility for Objecting to Claims and Settlement of Claims. The
 Reorganized Debtor shall have the exclusive standing and authority to either object to or settle
 and compromise any Objection to any Claim, including as follows:

                 (a)    From and after the Effective Date, the Reorganized Debtor shall have the
 sole and exclusive right to (i) file, settle, or litigate to Final Order any Objections to any Claims;
 and (ii) seek to subordinate any Claim. Any Contested Claim may be litigated to Final Order by
 the Reorganized Debtor; and

                 (b)    From and after the Effective Date, the Reorganized Debtor shall have the
 sole and exclusive right to settle, compromise or otherwise resolve any Contested Claim without
 the necessity of any further notice or approval of the Bankruptcy Court. Bankruptcy Rule 9019
 shall not apply to any settlement or compromise of a Contested Claim after the Effective Date.

                  Objection Deadline. All Objections to Claims shall be served and filed by the
 Objection Deadline; provided, however, the Objection Deadline shall not apply to Claims which
 are not reflected in the claims register, including any alleged informal proofs of Claim. The
 Reorganized Debtor may seek to extend the Objection Deadline, either across the board or
 separately as to any Claim or Claims, pursuant to a motion filed on or before the then applicable
 Objection Deadline with respect to any Claim. Any such motion may be granted without notice
 or a hearing. In the event that the Reorganized Debtor files such a motion and the Bankruptcy
 Court denies such motion, the Objection Deadline shall nevertheless be automatically extended
 to that date which is ten (10) Business Days after the date of entry of the Bankruptcy Court’s
 order denying such motion. Any proof of Claim other than one based upon a Rejection Claim
 and which is filed more than thirty (30) days after the Effective Date shall be of no force and
 effect and need not be objected to by the Reorganized Debtor. Nothing contained herein shall
 limit the right of the Reorganized Debtor to object to Claims, if any, filed or amended after the
 Objection Deadline.

                Response to Claim Objection. If the Reorganized Debtor files an Objection to
 any Claim, then the holder of such Claim shall file a written response to such Objection within
 twenty-four (24) days after the filing and service of the Objection upon the holder of the
 Contested Claim. Each such Objection shall contain appropriate negative notice advising the
 Creditor whose Claim is subject to the Objection of the requirement and time period to file a
 response to such Objection and that, if no response is timely filed to the Objection, the
 Bankruptcy Court may enter an order that such Claim is Disallowed without further notice or
 hearing. The negative notice in the Objection shall satisfy the notice requirements of Rule
 3007(a) of the Bankruptcy Rules, and the Reorganized Debtor shall not be required to send a
 separate notice of the Objection to the Creditor whose Claim is subject to the Objection.

                Distributions on Account of Contested Claims. If a Claim is Contested, then the
 dates for any Distributions as to any Claim shall be determined based upon its date of


 Amended Plan of Reorganization of Tenet Concepts, LLC                                         Page 20
Case 18-40270-elm11 Doc 272 Filed 05/24/19          Entered 05/24/19 12:31:59       Page 22 of 33



 Allowance and the resulting applicable Initial Distribution Date. No Distribution shall be made
 on account of a Contested Claim until Allowed. Until such time as a contingent Claim becomes
 fixed and absolute by a Final Order Allowing such Claim, such Claim shall be treated as a
 Contested Claim for purposes of estimates, allocations, and Distributions under the Plan. Any
 contingent right to contribution or reimbursement shall continue to be subject to section 502(e)
 of the Bankruptcy Code.

                 No Waiver of Right to Object. Except as expressly provided in this Plan, nothing
 contained in the Disclosure Statement, this Plan or the Confirmation Order shall waive,
 relinquish, release or impair the Reorganized Debtor’s right to object to any Claim.

                 Offsets and Defenses. The Reorganized Debtor shall be vested with and retain
 all Estate Claims and Estate Defenses, including without limitation all rights of offset or
 recoupment and all counterclaims against any Claimant holding a Claim. Assertion of
 counterclaims by the Reorganized Debtor against any Claim asserted against the Estate or
 Reorganized Debtor shall constitute “core” proceedings.

                Claims Paid or Reduced Prior to Effective Date. Notwithstanding the contents of
 the Schedules, Claims listed therein as undisputed, liquidated and not contingent shall be
 reduced by the amount, if any, that was paid by the Debtor prior to the Effective Date, including
 pursuant to orders of the Bankruptcy Court. To the extent such payments are not reflected in the
 Schedules, such Schedules will be deemed amended and reduced to reflect that such
 payments were made. Nothing in the Plan shall preclude the Reorganized Debtor from paying
 Claims that the Debtor was authorized to pay pursuant to any Final Order entered by the
 Bankruptcy Court prior to the Confirmation Date.

                                   ARTICLE X
                    EXECUTORY CONTRACTS AND UNEXPIRED LEASES

                Assumption and Rejection of Executory Contracts. This Plan shall constitute a
 motion to assume all Executory Contracts except as expressly set forth in this section. All
 Executory Contracts shall be deemed as assumed by the Debtor upon the Effective Date,
 unless an Executory Contract (a) is identified on the Schedule of Rejected Executory Contracts
 attached hereto as Exhibit B, (b) has been previously assumed or rejected pursuant to an order
 of the Bankruptcy Court, or (c) is the subject of a motion to assume or reject filed on or before
 the Confirmation Date. The Debtor may file a motion for the assumption or rejection of any
 Executory Contract at any time through the Effective Date and such motion shall be determined
 by the Bankruptcy Court thereafter.

                 Cure Claim Payments. The Debtor believes that it does not owe or will not owe
 any Cure Claims for Executory Contracts being assumed in the Plan. Any party to an Executory
 Contract asserting the existence of a Cure Claim as of the Effective Date must assert such Cure
 Claim by a written demand for payment thereof filed with the Court no later than thirty (30) days
 after the Effective Date and served on the Reorganized Debtor. Any dispute as to the existence
 or amount of any such Cure Claim shall be determined by the Court as a contested matter
 pursuant to Bankruptcy Rule 9014. To the extent it does owe any Cure Claims, any Cure
 Claims shall be treated as provided in this section. Unless the holder of a Cure Claim and the
 Debtor or Reorganized Debtor agree in writing to other treatment of such holder’s Cure Claim,
 or other treatment of such holder’s Cure Claim is otherwise provided for under the Plan, any
 cure payment which may be required by section 365(b)(1) of the Bankruptcy Code under an
 Executory Contract that is assumed under this Plan shall be made by the Reorganized Debtor


 Amended Plan of Reorganization of Tenet Concepts, LLC                                    Page 21
Case 18-40270-elm11 Doc 272 Filed 05/24/19           Entered 05/24/19 12:31:59        Page 23 of 33



 on the applicable Initial Distribution Date. Notwithstanding the foregoing, in the event of a
 dispute regarding the amount of any Cure Claim, the cure of any other defaults, the provision of
 adequate assurance of future performance, or any other matter pertaining to assumption, the
 Reorganized Debtor shall make such cure payments and cure such other defaults and provide
 adequate assurance of future performance, all as may be required by section 365(b)(1) of the
 Bankruptcy Code, following the entry of a Final Order by the Bankruptcy Court resolving such
 dispute.

                  Bar to Rejection Claims. Except as otherwise ordered by the Bankruptcy Court,
 any Rejection Claim based on the rejection of an Executory Contract shall be forever barred and
 shall not be enforceable against the Reorganized Debtor or the Assets unless a proof of Claim
 is filed with the Bankruptcy Court and served upon the Debtor and its bankruptcy counsel, or the
 Reorganized Debtor and its counsel, as the case may be, by the earlier of thirty (30) days after
 the Effective Date or thirty (30) days after entry of the Final Order approving rejection of such
 Executory Contract.

                 Rejection Claims. Any Rejection Claim not barred by section 10.3 above shall be
 classified as a Class 5 Claim subject to the provisions of sections 502(b)(6) and 502(g) of the
 Bankruptcy Code; provided, however, that any Rejection Claim based upon the rejection of an
 unexpired lease of real property, either prior to the Confirmation Date, upon the entry of the
 Confirmation Order, or upon the Effective Date, shall be limited in accordance with section
 502(b)(6) of the Bankruptcy Code and state law mitigation requirements. All Rejection Claims
 shall be deemed as Contested Claims until Allowed. Nothing contained herein shall be deemed
 as an admission by the Debtor or the Reorganized Debtor that the rejection of any Executory
 Contract gives rise to or results in a Rejection Claim or shall be deemed as a waiver by the
 Debtor or the Reorganized Debtor of any objections or defenses to any such Rejection Claim if
 asserted.

                 Reservation of Rights. Nothing contained in the Plan shall constitute an
 admission by the Debtor that any contract or lease is in fact an Executory Contract or that the
 Debtor or Estate has any liability thereunder. If there is a dispute regarding whether a contract
 or lease is or was executory or unexpired at the time of assumption or rejection, the
 Reorganized Debtor shall have thirty (30) days following entry of a Final Order resolving such
 dispute to alter the treatment of such contract or lease.

                                ARTICLE XI
      CONDITIONS PRECEDENT TO CONFIRMATION AND EFFECTIVENESS OF PLAN

                Conditions to Confirmation and Effectiveness of Plan. The Plan shall not
 become effective until the following conditions shall have been satisfied and which may occur
 concurrently with the Effective Date: (a) the Confirmation Order shall have been entered, in form
 and substance acceptable to the Debtor; (b) the necessary Plan Documents have been
 executed and delivered, and (c) all other conditions specified by the Debtor have been satisfied.

                 Notice of the Effective Date. On the Effective Date, the Reorganized Debtor shall
 cause to be filed with the Court and served on all Creditors and parties-in-interests, a notice of
 the Effective Date.




 Amended Plan of Reorganization of Tenet Concepts, LLC                                      Page 22
Case 18-40270-elm11 Doc 272 Filed 05/24/19             Entered 05/24/19 12:31:59        Page 24 of 33



                                       ARTICLE XII
                        EFFECT OF THE CONFIRMATION OF THE PLAN

                   Compromise and Settlement. Pursuant to section 363 of the Bankruptcy Code
 and Bankruptcy Rule 9019, and in consideration of the classification, potential Distributions and
 other benefits provided under the Plan, the provisions of the Plan shall constitute a good faith
 compromise and settlement of all Claims, Interests and controversies subject to, or dealt with,
 under this Plan, including, without limitation, all Claims against the Debtor or Estate arising prior
 to the Effective Date, whether known or unknown, foreseen or unforeseen, asserted or
 unasserted, fixed or contingent, arising out of, relating to or in connection with the business or
 affairs of, or transactions with, the Debtor or the Estate. The entry of the Confirmation Order
 shall constitute the Bankruptcy Court’s approval of each of the foregoing compromises or
 settlements embodied in this Plan, and all other compromises and settlements provided for in
 the Plan, and the Bankruptcy Court’s findings shall constitute its determination that such
 compromises and settlements are in the best interest of the Debtor, the Debtor’s bankruptcy
 Estate, Creditors and other parties-in-interest, and are fair, equitable and within the range of
 reasonableness. The rights afforded in the Plan and the treatment of all Claims and Interests
 herein shall be in exchange for, and in complete satisfaction and release of, all Claims and
 Interests of any nature whatsoever against and in the Debtor, the Estate, and the Assets.
 Except as otherwise provided herein, all Persons shall be precluded and forever barred by the
 Plan Injunction from asserting against the Debtor and its affiliates, successors, assigns, the
 Estate or the Assets or Reorganized Debtor any event, occurrence, condition, thing, or other or
 further Claims or causes of action based upon any act, omission, transaction, or other activity of
 any kind or nature that occurred or came into existence prior to the Effective Date, whether or
 not the facts of or legal bases therefore were known or existed prior to the Effective Date.

                  Discharge. The terms, covenants and consideration under the Plan shall be in
 exchange for, and in complete satisfaction, discharge, and release of, all Claims of any nature
 whatsoever against the Debtor, the Reorganized Debtor and the Assets. Except as otherwise
 expressly provided herein, upon the Effective Date, the Debtor and the Reorganized Debtor,
 and their successors in interest and assigns, shall be deemed discharged and released
 pursuant to section 1141(d)(1)(A) of the Bankruptcy Code from any and all Claims, demands
 and liabilities that arose before the Effective Date, and all debts of the kind specified in section
 502(g), 502(h), or 502(i) of the Bankruptcy Code, whether or not (a) a proof of Claim based
 upon such debt is filed or deemed filed under section 501 of the Bankruptcy Code; (b) a Claim
 based upon such debt is Allowed under section 502 of the Bankruptcy Code; (c) the holder of a
 Claim based upon such debt has accepted the Plan; or (d) the Claim has been Allowed,
 Disallowed, or estimated pursuant to section 502(c) of the Bankruptcy Code. The Confirmation
 Order shall be a judicial determination of discharge of all liabilities of the Debtor and the
 Reorganized Debtor, and their successors in interest and assigns, other than those obligations
 specifically set forth pursuant to the Plan.

            PLAN INJUNCTION. THIS SECTION IS REFERRED TO HEREIN AS THE
 “PLAN INJUNCTION.” EXCEPT AS OTHERWISE EXPRESSLY PROVIDED HEREIN, AS OF
 THE EFFECTIVE DATE ALL HOLDERS OF CLAIMS AGAINST, OR INTERESTS IN, THE
 DEBTOR, THE ESTATE OR ANY OF THE ASSETS THAT AROSE PRIOR TO THE
 EFFECTIVE DATE ARE HEREBY PERMANENTLY ENJOINED AND PROHIBITED FROM
 THE FOLLOWING: (i) THE COMMENCING OR CONTINUATION IN ANY MANNER,
 DIRECTLY OR INDIRECTLY, OF ANY ACTION, CASE, LAWSUIT OR OTHER PROCEEDING
 OF ANY TYPE OR NATURE AGAINST THE DEBTOR, REORGANIZED DEBTOR OR THE
 ESTATE, WITH RESPECT TO ANY SUCH CLAIM OR INTEREST ARISING OR ACCRUING


 Amended Plan of Reorganization of Tenet Concepts, LLC                                        Page 23
Case 18-40270-elm11 Doc 272 Filed 05/24/19           Entered 05/24/19 12:31:59       Page 25 of 33



 BEFORE THE EFFECTIVE DATE, INCLUDING WITHOUT LIMITATION THE ENTRY OR
 ENFORCEMENT OF ANY JUDGMENT, OR ANY OTHER ACT FOR THE COLLECTION,
 EITHER DIRECTLY OR INDIRECTLY, OF ANY CLAIM OR INTEREST AGAINST THE
 ESTATE, THE DEBTOR OR THE REORGANIZED DEBTOR; (ii) THE CREATION,
 PERFECTION OR ENFORCEMENT OF ANY LIEN, SECURITY INTEREST, ENCUMBRANCE,
 RIGHT OR BURDEN, EITHER DIRECTLY OR INDIRECTLY, AGAINST THE DEBTOR, OR
 REORGANIZED DEBTOR, OR (iii) TAKING ANY ACTION IN RELATION TO THE DEBTOR,
 ESTATE, OR REORGANIZED DEBTOR, EITHER DIRECTLY OR INDIRECTLY, WHICH
 VIOLATES OR DOES NOT CONFORM OR COMPLY WITH THE PROVISIONS OF THIS
 PLAN APPLICABLE TO SUCH CLAIM OR INTEREST. THE PLAN INJUNCTION SHALL
 ALSO BE INCORPORATED INTO THE CONFIRMATION ORDER.

             TEMPORARY THIRD-PARTY INJUNCTION (PRINCIPLE). AS LONG AS THE
 DEBTOR AND/OR PRINCIPLE ARE CURRENT IN THE PAYMENT OF THE HARTFORD
 CLAIM IN ACCORDANCE WITH THIS PLAN, HARTFORD WILL TAKE NO ACTION FOR
 THE COLLECTION OF THE HARTFORD CLAIM AGAINST PRINCIPLE. PRINCIPLE WILL
 EXECUTE APPROPRIATE DOCUMENTS EVIDENCING ITS JOINDER IN THIS PLAN FOR
 THE PURPOSES OF PAYING THE HARTFORD CLAIM.

            TEMPORARY THIRD PARTY INJUNCTION (AMAZON). AS LONG AS THE
 REORGANIZED DEBTOR IS CURRENT ON DISTRIBUTIONS TO THE HOLDERS OF
 ALLOWED CLASS 6 CLAIMS (IF ANY ARE ALLOWED) IN ACCORDANCE WITH THIS
 PLAN, SUCH CLASS 6 CLAIMANTS SHALL TAKE NO ACTION FOR THE COLLECTION OF
 ANY SUCH CLASS 6 CLAIMS AGAINST AMAZON.

                 Setoffs. Except as otherwise expressly provided for in the Plan, pursuant to the
 Bankruptcy Code (including section 553 of the Bankruptcy Code), applicable nonbankruptcy
 law, or as may be agreed to by the holder of a Claim, the Reorganized Debtor may setoff
 against any Allowed Claim and the Distributions to be made pursuant to the Plan on account of
 such Allowed Claim (before such Distribution is made), any Claims, rights, Estate Claims and
 Estate Defenses of any nature that the Debtor may hold against the holder of such Allowed
 Claim, to the extent such Claims, rights, Estate Claims and Estate Defenses against such
 holder have not been otherwise compromised or settled on or prior to the Effective Date
 (whether pursuant to the Plan or otherwise); provided, however, that neither the failure to effect
 such a setoff nor the allowance of any Claim or Interest pursuant to the Plan shall constitute a
 waiver or release of any such Claims, rights, Estate Claims and Estate Defenses that the Estate
 may possess against such Claimant. In no event shall any Claimant or Interest holder be
 entitled to setoff any Claim or Interest against any Claim, right, or Estate Claim of the Debtor
 without the consent of the Debtor or the Reorganized Debtor unless such holder files a motion
 with the Bankruptcy Court requesting the authority to perform such setoff notwithstanding any
 indication in any proof of Claim or otherwise that such holder asserts, has, or intends to
 preserve any right of setoff pursuant to section 553 of the Bankruptcy Code or otherwise.

                 Recoupment. Except as otherwise expressly provided for in the Plan, in no event
 shall any holder of Claims or Interests be entitled to recoup any Claim or Interest against any
 Claim, right, account receivable, or Estate Claim of the Debtor or the Reorganized Debtor
 unless (a) such holder actually provides notice thereof in writing to the Debtor or the
 Reorganized Debtor of its intent to perform a recoupment; (b) such notice includes the amount
 to be recouped by the holder of the Claim or Interest and a specific description of the basis for
 the recoupment, and (c) the Debtor or the Reorganized Debtor has provided a written response
 to such Claim or Interest holder, stating unequivocally that the Debtor or the Reorganized


 Amended Plan of Reorganization of Tenet Concepts, LLC                                     Page 24
Case 18-40270-elm11 Doc 272 Filed 05/24/19            Entered 05/24/19 12:31:59        Page 26 of 33



 Debtor consents to the requested recoupment. The Debtor and the Reorganized Debtor shall
 have the right, but not the obligation, to seek an order of the Bankruptcy Court allowing any or
 all of the proposed recoupment. In the absence of a written response from the Debtor or the
 Reorganized Debtor consenting to a recoupment or an order of the Bankruptcy Court
 authorizing a recoupment, no recoupment by the holder of a Claim or Interest shall be allowed.

               Turnover. On the Effective Date, any rights of the Estate to compel turnover of
 Assets under applicable nonbankruptcy law and pursuant to section 542 or 543 of the
 Bankruptcy Code shall be deemed transferred to and vested in the Reorganized Debtor.

                Automatic Stay. The automatic stay pursuant to section 362 of the Bankruptcy
 Code, except as previously modified by the Bankruptcy Court, shall remain in effect until the
 Effective Date of the Plan as to the Debtor, the Estate and all Assets. As of the Effective Date,
 the automatic stay shall be replaced by the Plan Injunction.

                                   ARTICLE XIII
              JURISDICTION OF COURTS AND MODIFICATIONS TO THE PLAN

                 Retention of Jurisdiction. Pursuant to sections 1334 and 157 of title 28 of the
 United States Code, the Bankruptcy Court shall retain exclusive jurisdiction of all matters arising
 in, arising under, and related to this Bankruptcy Case and the Plan, to the full extent allowed or
 permitted by applicable law, including without limitation for the purposes of invoking sections
 105(a) and 1142 of the Bankruptcy Code, and for, among other things, the following purposes:

              (a)      To hear and determine any and all objections to, or applications or
 motions concerning, the allowance of Claims or the allowance, classification, priority,
 compromise, estimation, or payment of any Administrative Expense;

               (b)     To hear and determine any and all applications for payment of fees and
 expenses pursuant to this Plan to any Estate Professional pursuant to sections 330 or 503 of
 the Bankruptcy Code, or for payment of any other fees or expenses authorized to be paid or
 reimbursed under this Plan, and any and all objections thereto;

               (c)     To hear and determine pending applications for the rejection, assumption,
 or assumption and assignment of Executory Contracts and the allowance of Claims resulting
 therefrom, and to determine the rights of any party in respect to the assumption or rejection of
 any Executory Contract;

               (d)      To hear and determine any and all adversary proceedings, applications,
 or contested matters, including relating to the allowance of any Claim;

                 (e)     To hear and determine all controversies, disputes, and suits which may
 arise in connection with the execution, interpretation, implementation, consummation, or
 enforcement of the Plan or in connection with the enforcement of any remedies made available
 under the Plan, including without limitation, (i) adjudication of all rights, interests or disputes
 relating to any of the Assets, (ii) the valuation of all Collateral, (iii) the determination of the
 validity of any Lien or claimed right of offset; and (iv) determinations of Objections to Contested
 Claims;

                (f)    To liquidate and administer any disputed, contingent, or unliquidated
 Claims, including the Allowance of all Contested Claims;



 Amended Plan of Reorganization of Tenet Concepts, LLC                                       Page 25
Case 18-40270-elm11 Doc 272 Filed 05/24/19             Entered 05/24/19 12:31:59         Page 27 of 33



                 (g)    To administer Distributions to holders of Allowed Claims as provided
 herein or in the Confirmation Order;

                (h)   To enter and implement such orders as may be appropriate in the event
 the Confirmation Order is for any reason stayed, reversed, revoked, modified, or vacated;

               (i)     To consider any modification of the Plan pursuant to section 1127 of the
 Bankruptcy Code, to cure any defect or omission, or reconcile any inconsistency in any order of
 the Bankruptcy Court, including, without limitation the Confirmation Order;

                (j)     To enforce the Plan Injunction against any Person;

                 (k)    To enter and implement all such orders as may be necessary or
 appropriate to execute, interpret, construe, implement, consummate, or enforce the terms and
 conditions of this Plan or the Confirmation Order and the transactions required or contemplated
 pursuant thereto;

                (l)     To hear and determine any motion or application which the Reorganized
 Debtor is required or allowed to commence before the Bankruptcy Court pursuant to this Plan or
 the Confirmation Order;

                 (m)  To hear and determine any other matter not inconsistent with the
 Bankruptcy Code and title 28 of the United States Code that may arise in connection with or
 related to the Plan;

                (n)     To determine proceedings pursuant to section 505 of the Bankruptcy
 Code;

                (o)     To enter a Final Decree closing this Bankruptcy Case;

                 (p)    To determine any other matter or dispute relating to the Estate or the
 Assets and the Distribution thereof, including all issues pertaining to any Claim or matter relating
 to any obligation by the Debtor to indemnify Amazon; and

                (q)     To hear, determine and enter a final judgment in the Lines Lawsuit.

                  Abstention and Other Courts. If the Bankruptcy Court abstains from exercising,
 or declines to exercise, jurisdiction or is otherwise without jurisdiction over any matter arising out
 of or relating to this Bankruptcy Case, this Article of the Plan shall have no effect upon and shall
 not control, prohibit or limit the exercise of jurisdiction by any other court having competent
 jurisdiction with respect to such matter.

                Non-Material Modifications. The Reorganized Debtor may, with the approval of
 the Bankruptcy Court and without notice to all holders of Claims and Interests, correct any
 defect, omission, or inconsistency in the Plan in such manner and to such extent as may be
 necessary or desirable. The Reorganized Debtor may undertake such nonmaterial modification
 pursuant to this section insofar as it does not adversely change the treatment of the Claim of
 any Creditor or the Interest of any Interest holder who has not accepted in writing the
 modification.

                Material Modifications. Modifications of this Plan may be proposed in writing by



 Amended Plan of Reorganization of Tenet Concepts, LLC                                        Page 26
Case 18-40270-elm11 Doc 272 Filed 05/24/19             Entered 05/24/19 12:31:59         Page 28 of 33



 the Debtor at any time before confirmation, provided that this Plan, as modified, meets the
 requirements of sections 1122 and 1123 of the Bankruptcy Code, and the Debtor shall have
 complied with section 1125 of the Bankruptcy Code. This Plan may be modified at any time
 after confirmation and before its Substantial Consummation, provided that the Plan, as modified,
 meets the requirements of sections 1122 and 1123 of the Bankruptcy Code, and the Bankruptcy
 Court, after notice and a hearing, confirms the Plan, as modified, under section 1129 of the
 Bankruptcy Code, and the circumstances warrant such modification. A holder of a Claim or
 Interest that has accepted or rejected this Plan shall be deemed to have accepted or rejected,
 as the case may be, such Plan as modified, unless, within the time fixed by the Bankruptcy
 Court, such holder changes its previous acceptance or rejection.

                                        ARTICLE XIV
                                 MISCELLANEOUS PROVISIONS

                  Severability. Should the Bankruptcy Court determine any provision of the Plan is
 unenforceable either on its face or as applied to any Claim or Interest or transaction, the
 Reorganized Debtor may modify the Plan so that any such provision shall not be applicable to
 the holder of any Claim or Interest. Such a determination of unenforceability shall not (a) limit or
 affect the enforceability and operative effect of any other provision of the Plan or (b) require the
 re-solicitation of any acceptance or rejection of the Plan.

                  Oral Agreements; Modification of Plan; Oral Representations or Inducements.
 The terms of the Plan, Disclosure Statement and Confirmation Order may only be amended in
 writing and may not be changed, contradicted or varied by any oral statement, agreement,
 warranty or representation. Neither the Debtor nor its attorneys have made any representation,
 warranty, promise or inducement relating to the Plan or its confirmation except as expressly set
 forth in this Plan, the Disclosure Statement, or the Confirmation Order or other order of the
 Bankruptcy Court.

                 Waiver. The Reorganized Debtor shall not be deemed to have waived any right,
 power or privilege unless the waiver is in writing and signed by the Reorganized Debtor. There
 shall be no waiver by implication, course of conduct or dealing, or through any delay or inaction
 by the Reorganized Debtor, of any right pursuant to the Plan, including the provisions of this
 anti-waiver section. The waiver of any right under the Plan shall not act as a waiver of any other
 or subsequent right, power or privilege.

               Notice. Any notice or communication required or permitted by the Plan shall be
 given, made or sent as follows:

                (a)     If to a Creditor, notice may be given as follows: (i) if the Creditor has filed
 no proof of Claim, then to the address reflected in the Schedules, or (ii) if the Creditor has filed a
 proof of Claim, then to the address reflected in the proof of Claim.

              (b)     If to the Reorganized Debtor, notice shall be sent to the Reorganized
 Debtor and counsel of record for the Reorganized Debtor.

                 (c)    Any Creditor desiring to change its address for the purpose of notice may
 do so by giving notice to the Reorganized Debtor of its new address in accordance with the
 terms of this section.

                (d)     Any notice given, made or sent as set forth above shall be effective upon



 Amended Plan of Reorganization of Tenet Concepts, LLC                                         Page 27
Case 18-40270-elm11 Doc 272 Filed 05/24/19            Entered 05/24/19 12:31:59        Page 29 of 33



 being (i) deposited in the United States Mail, postage prepaid, addressed to the addressee at
 the address as set forth above; (ii) delivered by hand or messenger to the addressee at the
 address set forth above; (iii) telecopied or emailed to the addressee as set forth above, with a
 hard confirmation copy being immediately sent through the United States Mail; or (iv) delivered
 for transmission to an expedited or overnight delivery service such as FedEx.

                   Compliance with All Applicable Laws. If notified by any governmental authority
 that it is in violation of any applicable law, rule, regulation, or order of such governmental
 authority relating to its business, the Reorganized Debtor shall comply with such law, rule,
 regulation, or order; provided, however, that nothing contained herein shall require such
 compliance if the legality or applicability of any such requirement is being contested in good
 faith in appropriate proceedings.

                 Duties to Creditors. No agent, representative, accountant, financial advisor,
 attorney, shareholder, officer, affiliate, member or employee of the Debtor shall ever owe any
 duty to any Person (including any Creditor) other than the duties owed to the Debtor’s
 bankruptcy Estate, for any act, omission, or event in connection with, or arising out of, or
 relating to, any of the following: (a) the Debtor’s Bankruptcy Case, including all matters or
 actions in connection with or relating to the administration of the Estate, (b) the Plan, including
 the proposal, negotiation, confirmation and consummation of the Plan, or (c) any act or omission
 relating to the administration of the Plan after the Effective Date.

               Binding Effect. The Plan shall be binding upon and shall inure to the benefit of
 the Reorganized Debtor, the holders of the Claims or Liens, the holders of Interests, and their
 respective successors-in-interest and assigns.

                 Governing Law, Interpretation. Unless a rule of law or procedure supplied by
 federal law (including the Bankruptcy Code and Bankruptcy Rules) is applicable, the internal
 laws of the State of Texas shall govern the construction and implementation of the Plan and any
 Plan Documents without regard to conflicts of law. The Plan shall control any inconsistent term
 or provision of any other Plan Documents.

              Payment of Statutory Fees. All accrued U.S. Trustee Fees shall be paid by the
 Reorganized Debtor as soon as practicable after the Effective Date, and thereafter shall be paid
 by the Reorganized Debtor as such statutory fees become due and payable.

               Filing of Additional Documents. On or before Substantial Consummation of the
 Plan, the Reorganized Debtor may file with the Bankruptcy Court such agreements and other
 documents as may be necessary or appropriate to effectuate and further evidence the terms
 and conditions of the Plan.

                 Computation of Time. Bankruptcy Rule 9006 shall apply to the calculation of all
 time periods pursuant to this Plan. If the final day for any Distribution, performance, act or event
 under the Plan is not a Business Day, then the time for making or performing such Distribution,
 performance, act or event shall be extended to the next Business Day. Any payment or
 Distribution required to be made hereunder on a day other than a Business Day shall be due
 and payable on the next succeeding Business Day.

                Elections by the Reorganized Debtor. Any right of election or choice granted to
 the Reorganized Debtor under this Plan may be exercised, at the Reorganized Debtor’s
 election, separately as to each Claim, Creditor or Person.



 Amended Plan of Reorganization of Tenet Concepts, LLC                                       Page 28
Case 18-40270-elm11 Doc 272 Filed 05/24/19   Entered 05/24/19 12:31:59   Page 30 of 33
Case 18-40270-elm11 Doc 272 Filed 05/24/19   Entered 05/24/19 12:31:59   Page 31 of 33
Case 18-40270-elm11 Doc 272 Filed 05/24/19   Entered 05/24/19 12:31:59   Page 32 of 33
Case 18-40270-elm11 Doc 272 Filed 05/24/19   Entered 05/24/19 12:31:59   Page 33 of 33
